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               Exhibit 12
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Table: DECENNIALPL2020.P2



                  HISPANIC OR LATINO, AND NOT HISPANIC OR LATINO BY RACE

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     P2
SURVEY/PROGRAM:               Decennial Census
VINTAGE:                      2020
DATASET:                      DECENNIALPL2020
PRODUCT:                      DEC Redistricting Data (PL 94‐171)
UNIVERSE:                     Total population
FTP URL:                      https://www2.census.gov/programs‐surveys/decennial/2020/data/

API URL:                      https://api.census.gov/data/2020/dec/pl

USER SELECTIONS
TABLES                        P2
GEOS                          Hidalgo County, Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=p2&g=050XX00US48215&tid=DECENNIALPL2020.P2




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Table: DECENNIALPL2020.P2


TABLE NOTES                   Note: For information on data collection, confidentiality protection, nonsampling error, and definitions, see 2020 Census
                              Redistricting Data (Public Law 94‐171) Summary File Technical Documentation.

                              For information on the statistical methods used to protect confidentiality in these tables, see Disclosure Avoidance and the
                              2020 Census.
                              Source: U.S. Census Bureau, 2020 Census Redistricting Data (Public Law 94‐171)


COLUMN NOTES                  None




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Table: DECENNIALPL2020.P2


  Label                               Hidalgo County, Texas
Total:                              870,781
 Hispanic or Latino                 800,001
 Not Hispanic or Latino:            70,780
   Population of one race:          67,934
     White alone                    53,338

     Black or African American alone 3,364
     American Indian and Alaska
     Native alone                    635
     Asian alone                     8,604
     Native Hawaiian and Other
     Pacific Islander alone          78
     Some Other Race alone           1,915

   Population of two or more races: 2,846
    Population of two races:        2,725
      White; Black or African
      American                      341
      White; American Indian and
      Alaska Native                 865
      White; Asian                  406
      White; Native Hawaiian and
      Other Pacific Islander        17
      White; Some Other Race        866
      Black or African American;
      American Indian and Alaska
      Native                        23
      Black or African American;
      Asian                         30
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander              9


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Table: DECENNIALPL2020.P2


  Label                                  Hidalgo County, Texas
      Black or African American;
      Some Other Race                73
      American Indian and Alaska
      Native; Asian                  16
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         2
      American Indian and Alaska
      Native; Some Other Race        17
      Asian; Native Hawaiian and
      Other Pacific Islander         42
      Asian; Some Other Race         18
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           0
     Population of three races:      111
      White; Black or African
      American; American Indian
      and Alaska Native              26
      White; Black or African
      American; Asian                7
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander     0
      White; Black or African
      American; Some Other Race      8
      White; American Indian and
      Alaska Native; Asian           32
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       2


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Table: DECENNIALPL2020.P2


  Label                                  Hidalgo County, Texas
      White; American Indian and
      Alaska Native; Some Other
      Race                           12
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander                       13
      White; Asian; Some Other
      Race                           1
      White; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     3
      Black or African American;
      American Indian and Alaska
      Native; Asian                  0
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         0
      Black or African American;
      American Indian and Alaska
      Native; Some Other Race        4
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander         0
      Black or African American;
      Asian; Some Other Race         0
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           2




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Table: DECENNIALPL2020.P2


  Label                                  Hidalgo County, Texas
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                       0
      American Indian and Alaska
      Native; Asian; Some Other
      Race                           0
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     1
     Population of four races:       10
      White; Black or African
      American; American Indian
      and Alaska Native; Asian       5
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       0
      White; Black or African
      American; American Indian
      and Alaska Native; Some
      Other Race                     0
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander                       4




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Table: DECENNIALPL2020.P2


  Label                                Hidalgo County, Texas
      White; Black or African
      American; Asian; Some Other
      Race                         0
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander;
      Some Other Race              0
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     0
      White; American Indian and
      Alaska Native; Asian; Some
      Other Race                   1
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    0
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    0
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     0
      Black or African American;
      American Indian and Alaska
      Native; Asian; Some Other
      Race                         0




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  Label                                  Hidalgo County, Texas
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
     Population of five races:       0
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander               0
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Some Other Race                0
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0


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Table: DECENNIALPL2020.P2


  Label                                  Hidalgo County, Texas
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
     Population of six races:        0
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           0




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